
705 S.E.2d 378 (2010)
STATE of North Carolina
v.
James Lee SPELLMAN.
No. 430P10.
Supreme Court of North Carolina.
December 15, 2010.
Sue Genrich Berry, Wilmington, for Spellman, James Lee.
Anita LeVeaux, Assistant Attorney General, for State of North Carolina.
Susan I. Doyle, District Attorney, for State.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 5th of October 2010 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 15th of December 2010."
Upon consideration of the petition filed on the 5th of October 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of December 2010."
